                         UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO



 GERALD ANGELO BARCELLA,
                                                Case No. 1:20-cv-00427-BLW
                      Plaintiff,
                                                ORDER APPOINTING
        v.                                      LIMITED PURPOSE
                                                COUNSEL
 CORIZON, LLC, DR. REBEKAH
 HAGGARD, GEN BREWER, RONA
 SIEGERT, WARDEN ALBERTO
 RAMIREZ, and SELAH WORLEY,

                      Defendants.


       The Pro Bono Coordinator has been notified by the Pro Bono Liaison that Craig

H. Durham has agreed to serve as limited purpose counsel for Plaintiff Gerald Angelo

Barcella. Therefore, IT IS ORDERED that Craig H. Durham be appointed as limited

purpose counsel for Gerald Angelo Barcella in this matter, and the Clerk of Court shall

designate him as such, with both Mr. Durham and Plaintiff receiving ECF docket entries,

unless otherwise directed by Mr. Durham.

       Plaintiff shall not contact counsel, but shall wait to be contacted by counsel.

       Counsel is notified that he may take advantage of the benefits offered through the

Idaho State Bar Volunteer Lawyers’ Program.

       The Federal Court’s Pro Bono Program cost reimbursement fund is also available

to counsel. Because the Court has authorized $1,000 from the fund to be paid for a Rule

702 expert, there is $500 remaining for costs on this case. If additional costs appear


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necessary, counsel may submit an ex parte motion to apply for additional funds. See Pro

Bono Program, District of Idaho, available at www.id.uscourts.gov.

         Plaintiff can use counsel’s help with the following from the Court’s previous

Order:

   x No later than February 26, 2021, Plaintiff, the Corizon Defendants, and the IDOC
     Defendants each shall submit two names of local nephrologists who might serve as
     the Court’s expert in this matter on the claim that Defendants overprescribed
     NSAID drugs. When contacting the nephrologist, the parties shall not give names
     or details of the case or make any argument in support of their position ex parte,
     but may generally state that they are looking for a neutral court expert to review
     medical records and write a report (and potentially testify at trial) regarding
     whether there is a reasonable medical probability that a prisoner plaintiff’s chronic
     kidney disease was caused by use of NSAIDs for pain management of a back
     condition and what Plaintiff’s future probably holds for him regarding his kidney
     condition.

   x Should Defendants notify Plaintiff that they require disclosure of any information
     from him regarding his past medical history, he shall respond by February 12,
     2021. Plaintiff shall cooperate in providing signed HIPAA releases for any past
     medical providers requested by Defendants.

   x Mr. Durham, on behalf of Plaintiff, and counsel for Defendants shall confer and
     propose to the Court in a joint motion any of the following, as may be necessary:
     new supplemental disclosure and discovery deadlines, a new dispositive motion
     deadline, and a potential time frame for a settlement conference. If the parties have
     already propounded discovery requests, they are authorized to engage in a second
     set of discovery requests to supplement the first, as reasonable, without regard to
     previously-set limits.

   x Mr. Durham and Plaintiff shall determine how they would like counsel for
     Defendants to communicate with them (e.g., only to Mr. Durham or to both Mr.
     Durham and Plaintiff) and notify counsel for Defendants.

         Nothing in this Order prohibits Plaintiff and Mr. Durham from entering into a

contract for limited or full representation in this case that provides payment for attorney


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